&lt;div data-spec-version="0.0.3dev" data-generated-on="2025-03-20"&gt;
 &lt;div class="generated-from-iceberg vlex-toc"&gt;
 &lt;link href="https://doc-stylesheets.vlex.com/ldml-xml.css" rel="stylesheet" type="text/css"&gt;&lt;/link&gt;
 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header" data-refglobal="case:grandjunctionpeaceofficersassociationvcityofgrandjunctionno24sc604march17,2025"&gt;&lt;p class="ldml-metadata"&gt;
 1
 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Grand Junction Peace Officers' Association&lt;/span&gt;&lt;/span&gt;, a/k/a &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Grand Junction Police Officers' FOP Lodge 68&lt;/span&gt;&lt;/span&gt;, on behalf of its &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;members&lt;/span&gt;&lt;/span&gt; and on behalf of &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;all others similarly situated&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;City of Grand Junction&lt;/span&gt;&lt;/span&gt;; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Claudia Hazelhurst&lt;/span&gt;&lt;/span&gt;, in her individual and official capacity; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Jodilyn Romero&lt;/span&gt;&lt;/span&gt;, n/k/a &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Jodilyn Welch&lt;/span&gt;&lt;/span&gt; in her individual and official capacity; and &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Gregory Caton&lt;/span&gt;&lt;/span&gt;, in his individual and official capacity. Respondents &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 24SC604&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;March 17, 2025&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="493" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="493" data-sentence-id="510" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Court
 of Appeals&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_510" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;Case No. 23CA1704&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;p data-paragraph-id="551" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="551" data-sentence-id="567" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petition
 for Writ&lt;/span&gt; of Certiorari DENIED.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;